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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 85-4544-DMG (AGRx)                                            Date       November 5, 2018

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   Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                    KANE TIEN                                                      NOT REPORTED
                    Deputy Clerk                                                    Court Reporter

      Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
               None Present                                                         None Present

   Proceedings: IN CHAMBERS - ORDER RE DEFENDANTS’ MOTION FOR PARTIAL
                RECONSIDERATION OF ORDER APPOINTING SPECIAL
                MASTER/INDEPENDENT MONITOR [498]

           On October 5, 2018, the Court issued an Order appointing Andrea Sheridan Ordin as the
   Special Master/Independent Monitor (“Appointment Order”), which authorized her to (inter alia)
   “[m]onitor compliance with the Court’s June 27, 2017 and July 30, 2018 Orders, and other Court
   orders issued” during her term. [Doc. # 494 at 6.]1 On October 12, 2018, Defendants filed an Ex
   Parte Application for Partial Reconsideration of the Appointment Order, wherein Defendants
   request that the Court exempt the July 30, 2018 Order from the scope of the Appointment Order,
   along with any other Orders the Court issues during the Monitor’s Term. [Doc. # 498 at 7–9,
   20–21.] On October 15, 2018, the Court construed Defendants’ Ex Parte Application as a
   motion for partial reconsideration, set a briefing schedule on the motion, and sua sponte stayed
   those aspects of the Appointment Order that relate to the enforcement of the Court’s July 30,
   2018 Order. [Doc. # 500.] Defendants’ motion has since been fully briefed. [Doc. ## 501, 506.]
   The Court deems this matter appropriate for decision without oral argument. Fed. R. Civ.
   P. 78(b); C.D. Cal. L.R. 7-15. For the reasons discussed in this Order, the Court DENIES
   Defendants’ motion.

            “[A]s long as a district court has jurisdiction over the case, then it possesses the inherent
   procedural power to reconsider, rescind, or modify an interlocutory order for cause seen by it to
   be sufficient.” See City of L.A., Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 889 (9th
   Cir. 2001) (quoting Melancon v. Texaco, Inc., 659 F.2d 551, 553 (5th Cir. 1981)); see also Fed.
   R. Civ. P. 54(b) (“[A]ny order or other form of decision, however designated, which adjudicates
   fewer than all the claims or the rights and liabilities of fewer than all the parties . . . is subject to
   revision at any time before the entry of judgment adjudicating all the claims and the rights and
   liabilities of all the parties.”). As movants, Defendants bear the burden of demonstrating that the
   Court should modify the scope of the Monitor’s responsibilities. See Fed. R. Civ. P. 7(b)(1)(B)

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               All page references herein are to page numbers inserted by the CM/ECF system.

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   (“A request for a court order must be made by motion. The motion must: . . . be in writing
   unless made during a hearing or trial[.]”). Defendants have failed to discharge that burden.

          First, Defendants contend that they lacked notice and an opportunity to be heard
   regarding whether the Monitor would oversee their compliance with Orders other than the
   June 27, 2017 Order, which focused on Customs and Border Protection’s (“CBP’s”) and
   Immigration and Customs Enforcement’s (“ICE’s”) breaches of the Flores Agreement, see June
   27, 2017 Order at 18–34 [Doc. # 363]; see also Fed. R. Civ. P. 53(b)(1) (“Before appointing a
   master, the court must give the parties notice and an opportunity to be heard.”). This objection is
   now moot because the Court has afforded Defendants an opportunity to be heard before the
   aforementioned provisions of the Appointment Order go into effect.

            Second, Defendants argue that the Court may not “sanction” the Office of Refugee
   Resettlement (“ORR”) by subjecting it to independent monitoring unless the Court finds by clear
   and convincing evidence that the agency breached the Flores Agreement, especially given that
   the Agreement specifies “the manner in which the decree was to monitored[.]” See Mot. for
   Recons. at 18–20. Defendants entirely misapprehend the purpose of the Monitor’s appointment
   and the scope of the Court’s authority for doing so. Federal Rule of Civil Procedure 53 and the
   All Writs Act (i.e., 28 U.S.C. § 1651(a)) authorize the appointment of a special master to monitor
   compliance with a court’s orders, and not to coerce that compliance or punish a defendant for
   non-compliance. Compare Nat’l Org. for the Reform of Marijuana Laws v. Mullen, 828 F.2d
   536, 542–44 (9th Cir. 1987) (holding that Rule 53 and Section 1651(a) confer such authority to
   appoint special masters), with Kelly v. Wengler, 822 F.3d 1085, 1097 (9th Cir. 2016) (holding
   that a contempt sanction may “coerce[] compliance with a court order” or punish violations
   thereof), and Labor/Community Strategy Ctr. v. L.A. Cty. Metro. Transp. Auth., 564 F.3d 1115,
   1123 (9th Cir. 2009) (holding that civil contempt sanctions may be imposed only if a breach is
   shown by clear and convincing evidence). A district court may appoint a monitor if “some
   exceptional condition” exists and/or if there are any “posttrial matters that cannot be effectively
   and timely addressed by an available district judge or magistrate judge of the district.” See Fed.
   R. Civ. P. 53(a)(1)(B). Such conditions exist in this case because it is particularly complex,
   Defendants have previously failed to comply with this Court’s Orders, and there are ongoing
   disputes regarding the implementation of those orders. See Appointment Order at 4–6; Hook v.
   State of Ariz., 120 F.3d 921, 925–26 (9th Cir. 1997) (affirming a district court’s order appointing
   a special master to monitor compliance with a consent decree); United States v. Suquamish
   Indian Tribe, 901 F.2d 772, 774–75 (9th Cir. 1990) (special masters may be appointed to aid a
   district court in enforcing its decree and because of complexity and problems with compliance).
   Furthermore, the Court rejects Defendants’ outlandish argument that the parties impliedly


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   bargained away its authority to appoint a monitor to oversee compliance with the instant consent
   decree.2 See Mot. for Recons. at 19–20; Reply at 3–5.

           Third, Defendants claim that “[t]he Court’s sole stated basis for the appointment of a
   monitor with regard to ORR was its reference to a declaration filed in a separate matter,” and that
   the Monitor’s oversight relating to the July 30, 2018 Order should be limited to “the specific
   assertions of non-compliance contained in the declaration . . . .” See id. at 20–21. Defendants
   neglect the fact that the July 30, 2018 Order found that ORR was responsible for numerous
   violations of yet another Court Order—i.e., the Flores Agreement itself. See July 30, 2018 Order
   at 30–32 [Doc. # 470]; Flores v. Sessions, 862 F.3d 863, 875 (9th Cir. 2017) (noting that the
   Flores Agreement is a court order).3 Additionally, the immense complexity of this case hinders
   the Court’s ability to determine whether ORR has remedied its violations of the Agreement. See,
   e.g., Flores Agreement at ¶¶ 12.A, 14, 17, 19, Ex. 1 at ¶ A (governing multiple aspects of a Class
   Member’s confinement, including the conditions thereof, the policy favoring release, suitability
   determinations for custodians, and minimum standards for licensed programs in which Class
   Members must be placed) [Doc. # 101]. Therefore, even apart from Dr. Amy Cohen’s
   declaration, there was ample justification for empowering the Monitor to oversee ORR’s
   compliance with the entirety of the July 30, 2018 Order. Dr. Amy Cohen’s declaration merely
   reinforced that conclusion. Therein, she attested that following the July 30, 2018 Order, ORR
   had not transferred any children out of Shiloh RTC and continued to represent that it may
   unilaterally administer psychotropic medication to Class Members on a non-emergent basis. See
   Cohen Decl. at ¶¶ 8–11, Lucas R., et al. v. Alex Azar, et al., No. CV 18-5741-DMG (PLAx)
   (C.D. Cal.) [Doc. # 64-1]. On the other hand, Defendants also assert that it has on file the
   consent of a parent for each child at issue for the administration of psychotropic medications at

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              To support this argument, Defendants cite cases that stand for the wholly unremarkable proposition that
   ordinary contract principles govern the interpretation of consent decrees. See Reply at 4 (citing City of Las Vegas v.
   Clark Cty., 755 F.2d 697, 702 (9th Cir. 1985); United States v. Asarco, Inc., 430 F.3d 972, 980 (9th Cir. 2005)).
   Defendants fail to cite any authority establishing that the parties can impliedly abrogate the Court’s statutory power
   to appoint a monitor by simply omitting discussion of that remedy from a consent decree. See id. at 3–5.
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             After the Court issued the July 30, 2018 Order, ORR apparently “sought further guidance from the State
   Attorney General’s Office” regarding whether Texas law on the administration of psychotropic medications protects
   Class Members detained at Shiloh RTC. See Fields Decl., Ex. 1 at 2 (Sept. 13, 2018 Letter from ORR to Shiloh)
   [Doc. # 506-2]. Yet, the agency has already “concede[d] that ‘Shiloh RTC’s operations are governed by the Texas
   Department of Family and Protective Services (TDFPS) Licensing Division’s Minimum Standards for General
   Residential Operations, which include polic[ies], procedures, and practices concerning the use of psychotropic
   medication.’” See July 30, 2018 Order at 20 (emphasis in original) (quoting Sualog Revised Decl. at ¶ 14 [Doc. #
   466-1]) [Doc. # 470]. Thus, even if the state attorney general ultimately opines that Shiloh RTC’s operations are not
   governed by the TDFPS’s minimum standards, ORR may not disobey the July 30, 2018 Order unless it has been
   modified or overturned on appeal.

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   Shiloh RTC. Fields Decl. at ¶¶ 8–10, Ex. 3 [Doc. ## 506, 514].4 Regardless of the veracity of
   these assertions, they further demonstrate the existence of ongoing disputes regarding the
   implementation of the Flores Agreement and the need for a monitor to provide the Court with
   independent verification of the facts. If Defendants are in full compliance with prior Orders as
   they say they are, then they should have nothing to fear from oversight by an independent
   monitor.

          Moreover, Plaintiffs offer additional evidence showing that Defendants have violated the
   July 30, 2018 Order.          Plaintiffs’ counsel attests that data received from ORR on
   September 7, 2018 shows that the agency continued to detain three children at Shiloh even
   though it had determined that none of them posed a risk of harm. See Pl.’s Ex. 3 at ¶ 7 (Holguín
   Decl.) [Doc. # 501-1.]5 Several Class Members detained in Shiloh RTC attest that after the
   issuance of the July 30, 2018 Order, they have not received any sort of psychiatric evaluation
   regarding whether they are a risk to themselves or others. See Pl.’s Ex. 18 at ¶ 10 (Declaration of
   C.) (“Since July 30, 2018, I do not remember receiving a psychiatric evaluation to determine
   whether I am dangerous.”) [Doc. # 511]; Pl.’s Ex. 19 at ¶ 8 (Declaration of E.) (same) [Doc.
   # 511]; Pl.’s Ex. 20 at ¶ 8 (Declaration of F.) (same) [Doc. # 511]; Pl.’s Ex. 21 at ¶ 11
   (Declaration of M1) (same) [Doc. # 511]; Pl.’s Ex. 22 at ¶ 10 (Declaration of M2) (same) [Doc.
   # 511]; Pl.’s Ex. 23 at ¶ 8 (Declaration of N.) (same) [Doc. # 511]. Class Members confined in
   Shiloh RTC also report that staff continue to monitor telephone calls that the children have with
   family members. See Pl.’s Ex. 18 at ¶ 6 (Declaration of C.) (“[My mother and I] usually speak
   on the phone twice a week and we are very close. These phone calls are not in private; my case
   manager is always in the room.”) [Doc. # 511]; Pl.’s Ex. 19 at ¶ 8 (Declaration of F.) (case
   manager is always in the room when E. makes telephone calls to her mother) [Doc. # 511]; Pl.’s
   Ex. 20 at ¶ 4 (Declaration of F.) (case manager is always in the room when F. speaks with his

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              Class Members attest that as far as they know, their close relatives have not authorized Shiloh RTC to
   administer psychotropic medication to them. See Pl.’s Ex. 18 at ¶ 9 (Declaration of C.) [Doc. # 511]; Pl.’s Ex. 20 at
   ¶ 7 (Declaration of F.) [Doc. # 511]; Pl.’s Ex. 21 at ¶ 10 (Declaration of M1) [Doc. # 511]; Pl.’s Ex. 22 at ¶¶ 8–9
   (Declaration of M2) [Doc. # 511]; Pl.’s Ex. 23 at ¶ 6 (Declaration of N.) [Doc. # 511]. When Plaintiffs requested a
   copy of the consent forms, Defendants’ counsel refused to provide them. See Pl.’s Ex. 25 at 15–16 (email
   correspondence) [Doc. # 501-2]. The Court’s Appointment Order authorizes the Monitor to obtain such information
   in order to determine whether ORR has complied with the July 30, 2018 Order. See Appointment Order at 11–14.
           5
               In a declaration dated October 26, 2018, an ORR official attests that he reviewed Shiloh RTC’s files for
   27 Class Members who were detained at the facility, and that 14 of them were ultimately released or transferred to
   less restrictive settings. See Fields Decl. at ¶¶ 4–6 [Doc. # 506-1]. Conspicuously absent from this declaration are
   (inter alia) the precise dates on which the official conducted this review (i.e., whether it occurred only after the
   Court issued the Appointment Order) and the locations of these supposed less restrictive settings. See id. The
   Monitor would be able to obtain answers to these questions.


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   uncle on the telephone) [Doc. # 511]; Pl.’s Ex. 21 at ¶ 6 (Declaration of M1) (“[P]hone calls
   [with my uncle] are not in private; my case manager is always in the room.”) [Doc. # 511]; Pl.’s
   Ex. 22 at ¶ 7 (Declaration of M2) (“Nobody here has private calls.”) [Doc. # 511]; Pl.’s Ex. 23 at
   ¶ 5 (Declaration of N.) (N.’s telephone calls with her mother “are not in private”) [Doc. # 511];
   Pl.’s Ex. 24 at ¶ 8 (Declaration of Y.) (“I am allowed to talk to my Dad and my aunt in Virginia
   on the phone, but the calls are not private. A case manager is always in the room.”) [Doc.
   # 511]. Plaintiffs also proffer evidence that after the July 30, 2018 Order, at least one Class
   Member was placed in a secure facility without receiving a Notice of Placement in a language
   that he understood. See Pl.’s Ex. 29 (Notice of Placement for B. in a Restrictive Setting, dated
   Aug. 12, 2018, which is completely in English) [Doc. # 511]; Pl.’s Ex. 28 (Declaration of B.) (“I
   do not read, write, or speak English, and the [Notice of Placement] was never presented or read
   to me in a language that I understand.”) [Doc. # 511]. Again, irrespective of whether these
   allegations are true, they reinforce the conclusion that ongoing disputes concerning ORR’s
   compliance with the Flores Agreement warrant independent oversight of the agency’s activities.
   For that reason, the Court declines Defendants’ invitation to construe Plaintiff’s Opposition as a
   motion to enforce the Flores Agreement.6 See Reply at 7.

           Lastly, Defendants urge the Court to allow ORR’s recently appointed juvenile
   coordinator to monitor the agency’s compliance with the Agreement instead of entrusting the
   Monitor with that responsibility. See Mot. for Recons. at 21–22. Defendants do not cite any
   authority requiring the Court to reverse course. See id.; Reply at 7; see also Hook, 120 F.3d at
   926 (observing that a district court has the discretion to appoint a special master to monitor
   compliance with its orders). Moreover, Defendants have apparently forgotten that at the time the
   Court ordered them to nominate juvenile coordinators to monitor CBP’s and ICE’s operations,
   the Court had not yet appointed the Monitor. See June 27, 2017 Order at 32–33 (finding it
   appropriate—“at least at th[at] juncture”—to appoint a juvenile coordinator in lieu of an
   independent monitor) [Doc. # 363]. It was only over a year later, and after numerous continued
   disputes between the parties about the actual conditions arose, that the Court decided to appoint
   an independent monitor to assist it in overseeing enforcement of the consent decree. Any
   logistical barriers to the appointment of an independent monitor of ORR’s operations have since
   been mitigated, given that the Court and the parties have already undertaken the time-consuming
   process of identifying a highly qualified candidate to be Monitor and ascertaining the proper


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              Plaintiffs’ Opposition alleges many other violations of the Flores Agreement that were not addressed by
   the July 30, 2018 Order (e.g., ORR’s decision to house minors in a tent city near the Tornillo Port of Entry). See
   Opp’n at 11–22. The Appointment Order was designed to handle such contingencies by allowing the Monitor to
   request leave from the Court to (inter alia) obtain briefing from the parties, attempt to mediate such disputes, and
   issue a Report and Recommendation thereon. See Appointment Order at 7–8.

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   scope of her duties and responsibilities. The Court and the Monitor will continue to rely upon
   the Juvenile Coordinators to enforce aspects of the Court’s orders, as necessary.

         For the foregoing reasons, the Court DENIES Defendants’ Motion for Partial
   Reconsideration and LIFTS the stay of the Appointment Order. The Court VACATES the
   November 9, 2018 hearing.7

   IT IS SO ORDERED.




           7
              The Court CORRECTS an error in the Appointment Order to delete the phrase “during the applicable
   Reporting Period as defined infra in note 7)” from the provision regarding the Monitor’s duty to provide notice of ex
   parte applications. [Doc. # 494 at 10, ll. 8-9.]

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